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                          IN THE UNITED STATES DISTRICT COURT _  .
                          FOR THE SOUTHERN DISTRICT OF OHIO                         HAY t 6 PM \2- 3 /
                           WESTERN DIVISION (AT CINCINNATI)                     ^
 ERICC.DETERS                                     :       Case No. I:19-o«r002^^         ^^
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        PlaintifT
                                                          Judge DIott
 V.



 MARK SCHWEIKERT


        Defendants




              PLAINTIFF'S OBJECTIONS TO MAGISTRATE'S REPORT




       I am choosing not to file objections because I no longer want to contest this issue.

       All Judges not named Schweikert have allowed me to participate in trials. This includes

Judges Brogan, Crawford and Sunderman. They have tried cases while Judge Schweikert spent

four months in Florida.


       1do believe the Rule 11 issue is unfairly harsh and ask that we simply close this matter.

                                                      Respectfully Submitted,



                                                      /s/Eric C. Deters
                                                      Eric C. Deters, Pro Se
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                                                      Independence, KY 41051
                                                      859-363-1900 - telephone
                                                      859-363-1444 - facsimile
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